                        DECLARATION OF GUADALUPE PEREZ

I, Guadalupe Perez, make the following declaration based on my personal knowledge
and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the following
is true and correct:

1.     I am a practicing attorney licensed to practice before the State of Illinois. My
       business address is 69 W. Washington, Suite 1600, Chicago, Il 60602. I have
       been employed as an Immigration Attorney/Assistant Public Defender II at Law
       Office of the Cook County Public Defender since February 14, 2022. I am over
       the age of 18 and am competent to testify regarding the matters described below.

2.     I have practiced exclusively in immigration law since 2016, representing dozens of
       noncitizens in removal proceedings before the Executive Office for Immigration Review
       (EOIR) and federal courts and/or with applications and petitions for immigration benefits
       or relief filed with U.S. Citizenship and Immigration Services (USCIS). Prior to my work
       at the Law Office of the Cook County Public Defender, I worked with the Detention
       Project at the National Immigrant Justice Center, representing detained individuals in
       removal proceedings. I represent individuals with:
               (a) final removal orders in removal proceedings pursuant to 8 U.S.C. § 1229a
               (Section 240 proceedings); and
               (b) final removal orders issued by the Department of Homeland Security pursuant
               to 8 U.S.C. § 1231(a)(5) (reinstatement orders) or 8 U.S.C. § 1228(b) (238b
               orders).

3.     I currently represent two individuals who DHS is seeking to deport to a country that was
       not designated as a country of removal:

       OGM is from El Salvador and was detained in withholding only proceedings after DHS
       issued a reinstatement order. He was granted withholding of removal under the
       Convention Against Torture to El Salvador. MGO feared returning to El Salvador due to
       having been kidnapped and tortured by gangs and police in El Salvador. The DHS did not
       reserve or appeal the decision. He is currently detained in DHS custody despite being
       granted protection. OGM has been moved from the detention facility he was originally
       held at during the six months of his proceedings to a new jail. A couple of days after he
       was granted relief, he had an interview with an ICE official who asked him if he was
       willing to return to Mexico. As counsel I informed DHS that they needed to inform me of
       any attempts to remove him to a third country, but DHS has not provided further
       information. Due to the prevalence of gangs from El Salvador to Mexico, OGM fears
       that they will be able to reach him in other Latin American countries. OGM also fears
       that other countries will remove him to El Salvador.

       RRJ is from Honduras and was detained in withholding-only proceedings after DHS
       issued a reinstatement order. He was granted deferral of removal under the Convention
       Against Torture to Honduras. JRR feared returning to Honduras due to having been
       kidnapped and tortured by gangs and police in Honduras. The DHS did not reserve or


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       appeal the decision. He is currently detained in DHS custody despite being granted
       protection. Recently, RRJ was moved from the facility he had been at for the last 8
       months. I was informed that DHS would attempt a third country removal, most likely to
       Mexico, but they refused to provide me with further details. I informed them that I
       needed to be updated as my client has a fear of deportation to other countries where the
       Honduran gangs may reach him.

4.      Both OGM and RRJ have a post-traumatic stress disorder diagnosis stemming from the
       time they were kidnapped and beaten by police members. Their time in detention has
       exacerbated these symptoms. Further, the uncertainty of not knowing whether DHS will
       deport them to a third country without having an opportunity to make a fear claim is
       traumatic to both them and their families.


I declare under penalty of perjury that the above information is true and correct to the
best of my knowledge.

Executed this 21 day of March 2025 at Chicago, Illinois


                                                             ____________________
                                                             Guadalupe Perez




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